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              Exhibit
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             Exhibit to Declaration of Christopher A. Seeger in
                      Support of Proposed Allocation
AVAILABLE FUNDS
QSF Fund                                                          $112,838,602.08
Escrow Account                                                      $1,368,050.20
TOTAL AVAILABLE FUNDS                                             $114,206,652.28
EXPENSES
Expenses - Fee Petition                                             $5,682,779.38
Expenses - Post-Fee Petition                                          $488,775.63
TOTAL EXPENSES                                                      $6,171,555.01
PART I PROPOSED ALLOCATION
Firm                           Lodestar             Multiplier             Total
Anapol Weiss                       $1,857,436.00            2.5     $4,643,590.00
Casey Gerry Schenk                   $333,920.00              1       $333,920.00
Dugan Law Firm                       $188,340.50              1       $188,340.50
Girard Gibbs                         $279,489.00           1.25       $349,361.25
Girardi Keese                        $448,190.00              1       $448,190.00
Goldberg Perksy                      $262,860.00              1       $262,860.00
Hagens, Rosskopf & Earl               $324,480.00             1       $324,480.00
Hausfeld                              $763,917.50           1.3       $993,092.75
Herman Herman & Katz                   $89,660.00             1        $89,660.00
Prof. Issacharoff                     $800,512.50          3.55     $2,841,819.38
Kreindler & Kreindler               $1,258,400.00          1.25     $1,573,000.00
Levin Sedran & Berman               $4,573,438.75          2.25    $10,290,237.19
Locks Law Firm                      $3,084,500.00          1.25     $3,855,625.00
McCorvey Law                          $198,780.00             1       $198,780.00
Mitnik Law                            $898,612.50          0.75       $673,959.38
NastLaw                               $765,060.25           1.5     $1,147,590.38
Podhurst Orseck                     $3,005,744.50          2.25     $6,762,925.13
Pope McGlamry                         $829,030.00             1       $829,030.00
Rheinhart Wendorf                      $14,899.50          0.75        $11,174.63
Rose, Klein & Mariais                 $157,969.50             1       $157,969.50
Seeger Weiss                       $18,124,869.10         3.885    $70,415,116.45
Brad Sohn                              $26,250.00          0.75        $19,687.50
Spector Roseman                        $51,708.00          0.75        $38,781.00
Zimmerman Reed                        $885,907.25             1       $885,907.25
MoloLamkin/Hangley                    $150,000.00                     $150,000.00
Corboy & Demetrio                     $250,000.00                     $250,000.00
Total Lodestar - Fee Petition Allocation                          $107,735,097.27
Contribution Awards to Class Representatives                         $300,000.00
TOTAL FEES, EXPENSES and AWARDS                                   $114,206,652.28
TOTAL AVAILABLE FUNDS                                             $114,206,652.28


PART II LODESTAR
Anapol Weiss                                                           $66,074.00
Levin Sedran & Berman                                                  $64,767.50
Locks Law Firm                                                        $250,800.00
NastLaw                                                                $44,606.50
Podhurst Orseck                                                       $165,886.50
Seeger Weiss                                                        $4,100,280.00
Total Lodestar - Post-Fee Petition                                  $4,692,414.50
